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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

BETTY HEARD, et al.,                    §
    Plaintiffs,                         §
                                        §
v.                                      §        CIVIL ACTION NO. H-15-2261
                                        §
AASHU LLC, et al.,                      §
    Defendants.                         §

        NOTICE OF STANLEY GRIGGS’S SIGNED SETTLEMENT
                AGREEMENT WITH DEFENDANTS

        Plaintiff Stanley Griggs hereby notifies that Court of his execution of his

written Settlement Agreement with Defendants in the above-referenced matter. A

true and correct copy of Mr. Griggs’s fully executed Settlement Agreement with

Defendants is attached hereto as Exhibit A and shall be electronically filed under

seal.
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                               Respectfully submitted,

                               WAGONER LAW FIRM

                               _____________________________
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                               COUNSEL FOR PLAINTIFFS
                               BETTY HEARD, STANLEY GRIGGS,
                               DAISY SANCHEZ, AND MARIA BASA




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                          CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2017, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, and notice was
electronically provided to the following CM/ECF system participants:

           G. Scott Fiddler                             Peter Costea
          Andrew W. Reed                       LAW OFFICE OF PETER COSTEA
     FIDDLER & ASSOCIATES, P.C.                  2603 Augusta, Suite 880
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    E-mail: areed@fiddlerlaw.com               ABZZ CORP, ZULFIQAR ALI,
   COUNSEL FOR DEFENDANTS                              & AAMIR ALI
       AASHU LLC & ASIF ALI


     I further certify that, on the date reflected above, a copy of the foregoing
document was sent by U.S. Mail to the following individual(s):

                            Francisco Javier Lizarraga
                               7106 Marisol Drive
                              Houston, Texas 77083
                               Tel. 281-818-7645
                              PRO SE PLAINTIFF


                                      ____________________________
                                      COUNSEL FOR PLAINTIFFS
                                      BETTY HEARD, STANLEY GRIGGS,
                                      DAISY SANCHEZ, AND MARIA BASA




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